Case 8:19-cv-00887-JVS-KES Document 8 Filed 05/17/19 Page 1 of 8 Page ID #:356
  1
  2
  3
  4
  5
  6
  7
  8
                          UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA

  10 KWADWO HWENSO ASARE−ANTWI
  11                 Plaintiff(s),
                                                 CASE NO:
  12         v.                                  8:19−cv−00887−JVS−KES
  13 WELLS FARGO BANK, N.A. , et al.
                                                 ORDER SETTING RULE 26(f)
  14                                             SCHEDULING CONFERENCE
  15                Defendant(s).                Monday, July 15, 2019 at 10:00 AM
  16
  17
  18
             This case has been assigned to Judge James V. Selna. If plaintiff has not
  19
       already served the complaint (or any amendment thereto) on all defendants,
  20
       plaintiff shall promptly do so and shall file proofs of service within three days
  21   thereafter. Defendants also shall timely serve and file their responsive pleadings
  22   and file proofs of service within three days thereafter.
  23
  24         This matter is set for a scheduling conference on the above date. The
  25   conference will be held pursuant to Fed.R.Civ.P., Rule 16(b). The parties are
  26   reminded of their obligations under Fed.R.Civ.P., Rule 26(a)(1) to disclose
  27   information (without awaiting a discovery request) and under Rule 26(f) to confer
  28   ///

                                               −1−
Case 8:19-cv-00887-JVS-KES Document 8 Filed 05/17/19 Page 2 of 8 Page ID #:357
  1
       on a discovery plan not later than twenty−one (21) days prior to the scheduling
  2
       conference and to file a Joint Rule 26(f) Report not later than fourteen (14) days
  3    after they confer. Failure to comply with the following requirements or to
  4    cooperate in the preparation of the Joint Rule 26(f) Report may lead to the
  5    timposition of sanctions.
  6
  7          Unless there is a likelihood that upon motion by a party the

  8    Court would order that any or all discovery is premature, it is advisable for
  9    counsel to begin to conduct discovery actively before the Scheduling
  10   Conference. At the very least, the parties shall comply fully with the letter
  11   and spirit of Rule 26(a) and thereby obtain and produce most of what would
  12   be produced in the early stage of discovery.
  13
  14         1.    Joint Rule 26(f) Report.
  15
  16              The Joint Rule 26(f) Report, which shall be filed not later than one
  17   week before the scheduling conference, shall be drafted by plaintiff (unless the
  18   parties agree otherwise), but shall be submitted and signed jointly. "Jointly"
  19   contemplates a single report, regardless of how many separately−represented

  20   parties there are. The Joint Rule 26(f) Report shall report on all matters
  21   enumerated below, which include those required to be discussed by Rule 26(f)

  22   and Local Rule 26:

  23
  24         a.   Synopsis: a short synopsis (not to exceed two pages) of the main

  25              claims, counterclaims, and/or affirmative defenses.

  26         b.   Legal issues: a brief description of the key legal issues.
  27         c.   Damages: the realistic range of provable damages.
  28   ///

                                               −2−
Case 8:19-cv-00887-JVS-KES Document 8 Filed 05/17/19 Page 3 of 8 Page ID #:358
  1
           d.   Insurance: whether there is insurance coverage, the extent of
  2
                coverage, and whether there is a reservation of rights.
  3        e.   Motions: a statement of the likelihood of motions seeking to (i) add
  4             other parties or claims or (ii) file amended pleadings or (iii) transfer
  5             venue.
  6        f.   Discovery and experts: pursuant to Rule 26(f), state what, if any,
  7             changes in the disclosures under R. 26(a) should be made; the
  8             subjects on which discovery may be needed and whether discovery
  9             should be conducted in phases or otherwise be limited; what
  10            discovery has been conducted thus far; whether applicable
  11            limitations should be changed or other limitations imposed; and
  12            whether the Court should enter other orders. Please state how many
  13            depositions each side will conduct. Also discuss the proposed time
  14            of expert witness disclosures under F.R.Civ.P. 26(a)(2).
  15       g.   Dispositive motions: a description of the issues or claims that any
  16            party believes may be determined by motion for summary judgment
  17            or motion in limine.
  18       h.   Settlement and settlement mechanism: a statement of what settlement

  19            discussions and/or written communications have occurred (specifically

  20            excluding any statement of the terms discussed) and a statement
  21            pursuant to the Local Rule 16−14.4 selecting a settlement mechanism
  22            under that rule.
  23       i.   Trial estimate: realistic estimate of the time required for trial and

  24            whether trial will be by jury or by court. Each side should specify

  25            (by number, not by name) how many witnesses it contemplates

  26            calling. If the time estimate for trial given in the Rule 26(f) Joint
  27            Report exceeds eight court days, counsel shall be prepared to discuss
  28            in detail the estimate.

                                              −3−
Case 8:19-cv-00887-JVS-KES Document 8 Filed 05/17/19 Page 4 of 8 Page ID #:359
  1
             j.   Timetable: complete of the Presumptive Schedule of Pretrial Dates
  2               form attached as Exhibit A to this Order and attach it to the Rule 26(f)
  3               report. Submission of a completed Exhibit A is mandatory. The current
  4               entries in the "Weeks Before Trial" column merely reflect what the

  5               Court believes are appropriate for many, if not most, cases; those entries
  6               are not necessarily applicable to this case, and the form is designed to
  7               enable counsel to request the Court to set different last dates by which
  8               the key requirements must be completed. Each side should write in the
  9               month, day and year it requests for each event. E.g., for the expert
  10              discovery cut−off it might be "10/7/02" for plaintiff and "10/28/02" for
  11              defendant, if they cannot agree. At the conference, the Court will review
  12              this form with counsel. Each entry proposing dates shall fall on a
  13              Monday, except the trial date which is a Tuesday. In appropriate cases
  14              the Court will order different dates after it hears from Counsel. The
  15              proposed non−expert and expert discovery cut−off date means: the last
  16              day by which all depositions must be completed and responses to all

  17              previously−served written discovery must be provided. The proposed

  18              cut−off date for motions means: the last date on which motions may
  19              be heard, not noticed.

  20         k.   Other issues: a statement of any other issues affecting the status or
  21              management of the case (e.g., unusually complicated technical or
  22              technological issues, disputes over protective orders, extraordinarily
  23              voluminous document production, non−English speaking witnesses,
  24              discovery in foreign jurisdictions, etc.).
  25         l.   Conflicts: for conflict purposes, corporate parties must identify all
  26              subsidiaries, parents and affiliates.
  27   ///
  28   ///

                                                 −4−
Case 8:19-cv-00887-JVS-KES Document 8 Filed 05/17/19 Page 5 of 8 Page ID #:360
  1
             m.    Patent cases: propose dates and methodology for claim construction
  2
                  and Markman hearings. The Court requires the parties to file
  3               concurrent opening briefs and concurrent reply briefs for the hearing.
  4               The Court intends to follow the rule for patent cases which have
  5               been adopted by the Northern District of California.
  6          n.   Magistrates: Do the parties wish to have a Magistrate Judge preside?
  7               Under 28 U.S.C. § 636, the parties may consent to have a Magistrate
  8               Judge preside over all the proceedings, not just discovery. They may
  9               pick any Magistrate Judge (not just the one assigned to this case)
  10              from among those Magistrate Judges who accept these designations.
  11              (They are identified on the Central District’s website, which also
  12              contains the consent form.)
  13
  14   The Joint Rule 26(f) Report should set forth the above enumerated information
  15   under section headings corresponding to this Order.
  16
  17         2.    Scheduling Conference.
  18
  19              Scheduling Conferences will be held in the Ronald Reagan Building,
  20   411 West Fourth Street, Court Room 10C, Santa Ana. Counsel shall comply with
  21   the following:
  22
  23         a.   Participation: The lead trial attorney must attend the Scheduling
  24              Conference, unless excused for good cause shown in advance of the

  25              Scheduling Conference.

  26         b.   Continuance: A continuance of the Scheduling Conference will be
  27              granted only for good cause.
  28   ///

                                                 −5−
Case 8:19-cv-00887-JVS-KES Document 8 Filed 05/17/19 Page 6 of 8 Page ID #:361
  1
             3.    Protective Orders.
  2
  3                If you seek a protective order, propose it to opposing counsel before
  4     the Scheduling Conference, if at all possible. Protective Orders are considered by
  5     the Magistrate Judge assigned in this action.
  6
  7           4.    Notice to be Provided by Counsel.
  8
  9                Plaintiff’s counsel or, if plaintiff is appearing pro se, defendant’s
  10    counsel, shall provide this Order to any parties who first appear after the date of
  11    this Order and to parties who are known to exist but have not yet entered
  12    appearances.
  13
  14          5.    Disclosures to Clients.
  15
  16               Counsel are ordered to deliver to their respective clients a copy of
  17    this Order and of the Court’s Scheduling and Case Management Order, which
  18    contains the schedule that the Court sets at the Scheduling Conference.
  19
  20          6.    Court's Website.
  21
  22               Copies of this and all other orders of this Court that may become
  23    applicable to this case are available on the Central District of California website,
  24    at "www.cacd.uscourts.gov," under "Judge’s Procedures and Schedules." Copies
  25    of the Local Rules are available on the website.¹
  26
       ¹Local rules may be purchased from the following:
  27
           Los Angeles Daily Journal        West Publishing Co.             Metropolitan News
  28       915 East First Street            50 West Kellogg Boulevard       210 South Spring Street
           Los Angeles, CA 90012            St. Paul MN 55164−9979          Los Angeles, CA 90012

                                                 −6−
Case 8:19-cv-00887-JVS-KES Document 8 Filed 05/17/19 Page 7 of 8 Page ID #:362
    1
               The Court thanks the parties and their counsel for their anticipated
    2
           cooperation in carrying out these requirements.
    3
    4         IT IS SO ORDERED.
    5
    6     DATED: May 17, 2019
                                      James V. Selna
    7                                 United States District Judge
    8
    9     Copies to: All Counsel of Record
    10
    11
    12
    13
    14
    15
    16
    17
    18
    19
    20
    21
    22
    23
    24
    25
    26
    27
    28

                                             −7−
Case 8:19-cv-00887-JVS-KES Document 8 Filed 05/17/19 Page 8 of 8 Page ID #:363
  1
  2
  3                                               EXHIBIT A
                                        JUDGE JAMES V. SELNA
  4                            PRESUMPTIVE SCHEDULE OF PRETRIAL DATES

  5                                                                    Plaintiff's   Defendant's
                                                                Weeks Request        Request     Court
  6     Matter                                     Time         before (Insert       (Insert     Order
                                                                 trial specific      specific
  7                                                                    date)         date)
       Trial date (jury) (court)                    8:30 a.m.
  8    Estimated length: _________ days            (Tuesdays)
       [Court trial:] File Findings of Fact and
       Conclusions of Law and Summaries of                       −1
  9    Direct Testimony
       Final Pretrial Conference; Hearing on
  10   Motions in Limine; File Agreed Upon
       Set of Jury Instructions and Verdict        11:00 a.m.
  11   Forms and Joint Statement re Disputed       (Mondays)     −2
       Instructions and Verdict Forms; File
       Proposed Voir Dire Qs and Agreed−to
  12   Statement of Case
       Lodge Pretrial Conf. Order;
  13   File Memo of Contentions of Fact and                      −3
       Law; Exhibit List; Witness List; Status
  14   Report re Settlement
       Last day for hand−serving Motions in                      −6
  15   Limine
                                                    1:30 p.m.
        Last day for hearing motions                             −7
  16                                               (Mondays)
        Last day for hand−serving motions and                    −11
  17    filing (other than Motions in Limine).
        Non−expert Discovery cut−off                             −15
  18
  19             ADDITIONAL MATTERS TO BE DETERMINED AT SCHEDULING CONFERENCE
  20    L.R. 16−14 Settlement Choice: (1) CT/USMJ (2) Court Mediation Panel (3) Private ADR

  21
        Expert discovery cut−off
  22    Rebuttal Expert Witness Disclosure
        Opening Expert Witness Disclosure [See
  23    F.R.Civ.P. 26(a)(2)]
        Last day to conduct Settlement
  24    Conference
        Last day to amend pleadings or add
  25    parties

  26
  27   Revised 4−14−16
  28

                                                     −8−
